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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

DANIEL FRYE et al.,                                )
                                                   )
                 Plaintiffs,                       ) Case No.: 1:20-cv-00751-SM
       vs.                                         )
                                                   )
WILLIAM M. GARDNER et al.,                         )
                                                   )
                 Defendants.                       )
                                                   )

                  PLAINTIFFS’ WITHDRAWAL WITHOUT PREJUDICE
                  OF THE MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs hereby withdraw their Motion for a Preliminary Injunction (“Motion”) based on

the following:

       1.        The parties have resolved the issues raised in the Motion as outlined in the Term

Sheet attached as Exhibit A, which terms shall be enforceable by the Court. Exhibit A, ¶ 15.

       2.        In light of the parties’ agreement, there is no need for a hearing on the Motion and

Plaintiffs withdraw it without prejudice to filing a further motion for preliminary injunctive relief

at a later date if necessary. Exhibit A, ¶ 14.

       WHEREFORE, the Plaintiffs request that this Court:

       A.        Accept this notice and cancel the hearing scheduled for August 31, 2020; and

       B.        Grant such further relief in favor of the Plaintiffs as the Court deems just and proper.



Dated: August 28, 2020                           Respectfully submitted,

                                                 DISABILITY RIGHTS CENTER-
                                                 NEW HAMPSHIRE, INC.


                                           By: /S/ Pamela E. Phelan
                                               Pamela E. Phelan (#10089)

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                                             Attorneys for Plaintiffs

                                CERTIFICATE OF SERVICE

       I certify that a copy of Plaintiffs’ Withdrawal Without Prejudice of Motion for a
Preliminary Injunction was served on all counsel of record via ECF.

Dated: August 28, 2020                       /S/ Pamela E. Phelan
                                             Pamela E. Phelan




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